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 2   Acting Under Authority Conferred by
     28 u.s.c. § 515
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 9

10   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
11

12                           UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                No. CR 16-292-JGB

15             Plaintiff,                     STIPULATION TO CONTINUE
                                              SENTENCING HEARING
16                   v.
                                              SENTENCING DATE:
17   MARIYA CHERNYKH, et al.,                 September 24, 2018
     -3) SYED RAHEEL FAROOK
18                                            [PROPOSED] SENTENCING DATE:
               Defendants.                    March 25, 2019
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          Plaintiff United States of America, by and through its counsel
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     of record, and defendant SYED RAHEEL FAROOK ("defendant"), by and
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     through his counsel of record, hereby stipulate as follows:
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          1.    The Indictment in this case was filed on April 27, 2016.
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          2.    On January 10, 2017, defendant pled guilty pursuant to a
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     written plea agreement with the government to violating 18 U.S.C.
27
     § 371: Conspiracy.     The Court originally set defendant's sentencing
28
     Case 2:16-cr-00292-JGB Document 115 Filed 09/12/18 Page 2 of 2 Page ID #:446




 1   for November 13, 2017, and, at the request of the parties, continued

 2   it to September 24, 2018.      Defendant is out of custody on bond

 3   pending sentencing.

 4           3.   By this stipulation, the parties respectfully request to

 5   continue the sentencing hearing from September 24, 2018, to March 25,

 6   2019.

 7           4.   Defendant needs additional time to prepare his written

 8   sentencing position and believes it is in his best interest to seek a

 9   continuance.

10           5.   The government does not object to this request.

11           IT IS SO STIPULATED.

12   Dated: September 12, 2018            Respectfully submitted,

13                                        TRACY L. WILKISON
                                          Attorney for the United States,
14                                        Acting Under Authority Conferred by
                                          28 u.s.c. § 515
15
                                          PATRICK R. FITZGERALD
16                                        Assistant United States Attorney
                                          Chief, National Security Division
17

18                                         /s/ Melanie Sartoris
                                          MELANIE SARTORIS
19                                        Assistant United States Attorney

20                                        Attorney for Plaintiff
                                          UNITED STATES OF AMERICA
21

22    Dated: September 12, 2018           /s/ by electronic authorization
                                          RON CORDOVA
23                                        Attorney for Defendant
                                          SYED RAHEEL FAROOK
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